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NOR'I`HERN DlSTRlC'l` OF NEW 'YORK
..................................................................... X
Robert Mothersell,

Civ. A. No. 08-cv-0615

Plaintiff. (NAM)(TWD)
V.

City ofSyracuse, Stephanie A. M`Lner, Mayor,

Frank L. Fowler, Chief of Police, Matthew J . Driscoll,
former Mayor; Gary Miguel, former Chiefof Police;

Capt. Timothy Laun, Lt. Michael Glavin, Sgt. Michael
H_artnett, Sgt. J ames Staub, Det. Susan lzzo,

Det. Matthew MacDemient, Det. David Armstrong, Det.
David Jones, John and Jane Does Syracuse Police Off'icers,
individually and in their official capacities,

Defendatits.
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STIPULATED NOTICE OF VOLU'NTARY`DISMISSAL

lt is hereby stipulated and agreed by undersigned counsel, based on the terms of a
settlement between the parties, that this entire action, including all claims brought by Roben
Mothersell against Def`eandants. City of Syracuse and Stephanie A. Miner, Mayor, Frank L.
Fowler, Chiel` of ?olice, Matthew J. Driscoll, fortner Mayor; Gary Miguel, fortner Chief of
Police', Capt. 'I`imothy Laun, Lt. Michael Glavin, Sgt. Michael Hannett, Sgt. Jarnes Staub, Det.
Susan lzzo, Det. Matthew MacDerment, Det. David Armstrong, Det. David lones, ]ohn and
lane Does Syracuse Police Ofl'icers, individually and in their official capacities, shall be and are
voluntarily dismissed with prejudice pursuant to Rule 4l9a)(l)(A)(ii) of the Federal Rules of
Civil Prooedure. 'l`he Parties agree to bear their own fees and costs.

DATED: April 26, 2013 BELDOCK LEVINE & HOFFMAN LLP
Al!orneys for Plaintif'Roberl Motherscll

By: [\\'!:§:r\

Myron Beldoek, Esq.

99 Park Avenue, Suite 1600
New York, New York 10016
(2 1'2) 490-0400

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DATED: é[Z0 ,2013

HANCOCK ESTABROOK, l.LP
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Jo n . Powers, .Esq
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Syracuse, N\’ 13202
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Daied: z ,2013

     

Norman A. Mordue d
United States District Coun .ludge

